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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
 In re:                               §
                                      §              Chapter 11
 Free Speech Systems LLC,             §
                                      §        Case No. 22-60043 (CML)
              Debtor.                 §

       PQPR HOLDINGS LIMITED, LLC’S WITNESS AND EXHIBIT LIST FOR
                         JUNE 29, 2023 HEARING

        PQPR Holdings Limited, LLC (“PQPR”), the secured creditor of the Debtor and a party-
in-interest, respectfully submits this Witness and Exhibit List for the hearing scheduled for June
29, 2023:
                                         WITNESS LIST

       1.       Robert Roe
       2.       David Jones
       3.       Patrick Magill
       4.       Any witness identified by any other party

                                        EXHIBIT LIST

  Exhibit No.     Description
   PQPR-1         PQPR August 13, 2020 Note, Exh 4 to Dkt. No. 26
   PQPR-2         Security Agreement, Exh 5 to Dkt. No. 26
   PQPR-3         PQPR November 10, 2021 Note, Exh 6 to Dkt. No. 26
   PQPR-4         PQPR UCC-1 Financing Statement, Exh 7 to Dkt. No. 26
   PQPR-5         PQPR Forbearance Term Sheet, Exh 8 to Dkt. No. 26
   PQPR-6         13 Week Budget, Exh 9 to Dkt. No. 26
   PQPR-7         Interim Cash Collateral Budget, Exh 10 to Dkt. No. 26
   PQPR-8         2nd Interim Cash Collateral Order and Budget, Dkt. No. 98
   PQPR-9         3rd Interim Cash Collateral Order and Budget, Dkt. No. 151
   PQPR-10        4th Interim Cash Collateral Order and Budget, Dkt No. 238
   PQPR-11        PQPR Proof of Claim, Claim No. 11
   PQPR-12        5th Interim Cash Collateral Order and Budget, Dkt No. 258
   PQPR-13        6th Interim Cash Collateral Order and Budget, Dkt No. 287
   PQPR-14        7th Interim Cash Collateral Order and Budget, Dkt No. 333
   PQPR-15        8th Interim Cash Collateral Order and Budget, Dkt No. 403
   PQPR-16        9th Interim Cash Collateral Order and Budget, Dkt No. 459
   PQPR-17        10th Interim Cash Collateral Order and Budget, Dkt No. 540
   PQPR-18        11th Interim Cash Collateral Order and Budget, Dkt No. 575
   PQPR-19        12th Interim Cash Collateral Order and Budget, Dkt No. 607

                  Any exhibits offered by any other party
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Dated: June 27, 2023                 Respectfully submitted,

                                             STREUSAND, LANDON & OZBURN, LLP

                                             By:       /s/Stephen W. Lemmon
                                                    Stephen W. Lemmon
                                                    Texas Bar. No. 12194500
                                                    STREUSAND, LANDON, OZBURN &
                                                    LEMMON, LLP
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                                                    Austin, Texas 78746
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                                                    lemmon@slollp.com
                                                    ATTORNEYS FOR
                                                    PQPR HOLDINGS LIMITED, LLC



                                CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing document has been served on
counsel for Debtor, Debtor, and all parties receiving or entitled to notice through CM/ECF on this
27th day of June, 2023.



                                             /s/ Stephen W. Lemmon
                                             Stephen W. Lemmon




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